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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,021,198

This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 10,021,198 and provides notice of such infringement, by comparing each
element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. This claim chart include
information provided by way of example, and not by way of limitation.

“Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles, equipment,
objects, drivers, and other assets equipped with sensors or tags (the Assets).

    1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet
       Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides data
       to NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions that
       support:
          (a) NexTraq®’s Fleet Visibility and             Productivity products, services and solutions which are used for vehicle tracking
              (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-fencing
              and mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts (https://www.nextraq.com/services/real-time-
              alerts/), sensors (https://www.nextraq.com/services/sensors/) and integration with third party platforms, solutions and/or applications
              (https://www.nextraq.com/services/integration/);
          (b) NexTraq® View™ and NexTraq® Connect™ mobile apps which are used by mobile work force
              (https://www.nextraq.com/services/mobile-apps/);
          (c) NexTraq®          Fleet     Defender     (https://www.nextraq.com/services/fleet-defender/)       and      NexTraq®        Dashcam™
              (https://www.nextraq.com/services/dashcam/) which are used for drive safety;
          (d) NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-
              assignment/)



NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:

The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:

                                                                           1
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                                                                                                                                          Exhibit C-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,021,198

1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)

2-Asset Trackers Family of products (e.g., AT-730, AT-5100)

3-Trailer Trackers (e.g., TT-2830)

4-GPS Tracking Devices (e.g., LMU26H201-NXT01)

5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.

        The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities. An
analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.

         Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’198 patent in violation of 35 U.S.C. § 271(a) by selling, offering
to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement. Unless
otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35 U.S.C. §§
271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports, or offers
for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make, use, sell,
import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority products,
equipment, or services that infringe claims the ’198 patent, including without limitation, the Accused Instrumentalities.

       Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision of the
Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of


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                                                                                                                                             Exhibit C-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,021,198

the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts that,
on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to amend
this infringement analysis by citing other claims of the ’198 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities.
PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.



    Claim     US Patent       Description of the Infringement
              10,021,198
    Indep                     NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
      .   1. A method for     information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
    Cl. 1 controlling         including servers and databases or other resources that are accessed with the Internet connection through on-premise or
          conveyance of       another provider's shared cloud computing framework, including servers and databases administered by third parties.
     1-p location and         On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
          tracking            securely control access to resources used by NexTraq’s cloud-based solution. More specifically, the Accused
          information         Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
          provided as an      resources.
          Internet service,
          comprising:




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )

                          On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
                          servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
                          Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
                          data warehouse solution.
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                                                     PerDiemCo LLC v. NexTraq
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                                                      U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
                          would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
                          service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                          engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)
                          ---------------------------------------------------------------------------------------------------------------------------------------------
                          Accused Instrumentalities control conveyance of location and tracking information provided as an Internet service.




                          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                                                        Internet Service




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
                          ---------------------------------------------------------------------------------------------------------------------------------------------
                          The Accused Instrumentalities use mobile devices equipped with location information sources for conveyance of location
                          and tracking information.
                                                                                     Location Information




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                          (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                       Mobile Devices Equipped with Location Information Sources
                          1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                          2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                          3-Trailer Trackers (e.g., TT-2830)
                          4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                          (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                                                                                     Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                          (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                          (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                          (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                          (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,021,198

    Claim      US Patent        Description of the Infringement
               10,021,198




                                (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                                0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                                225724&mkgroupid=1228154759183859&rlsatarget=pla-
                                4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )

                                The mobile devices are GPS equipped for tracking mobile objects like assets and vehicles.
     1-a    providing a         See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            computer server     information.
            connected to the
            Internet, said      NexTraq uses servers of an on-premise data warehouse or servers of Amazon Web Services (AWS), which are connected
            computer server     to the Internet. The servers of on-premise data warehouse or servers of AWS executes first database management system
            executing first     software that accesses a database of location and tracking information.
            database            One or more databases in on-premise data warehouse or AWS maintains about a first information sharing environment
            management          as network of computing devices used for controlling conveyance of location and tracking information.
            system software
            that maintains a                                       First Information Sharing Environment (ISE)
            database of         NexTraq’s network of computing devices used to provide the accused instrumentalities is a first information sharing
            location and        environment (ISE) which is used by a plurality of authorized users in different companies/organizations.
                                                                           16
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                                                               PerDiemCo LLC v. NexTraq
                                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                                U.S. Patent No. 10,021,198

    Claim       US Patent        Description of the Infringement
               10,021,198
            tracking
            information
            about a first
            information
            sharing
            environment
            used by a
            plurality of
            authorized users;




                                 (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                 -----------------------------------------------------------------------------------------------------------------------------------------------
                                 In fact, each of the above tracking services provided by different Accused Applications, create a respective NexTraq
                                 information sharing environment as a first information sharing environment, which is used by authorized users such as
                                 account administrator and manager, identified by user IDs within a corresponding NexTraq information sharing
                                 environment.

                                                                                       Users identified by user IDs




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
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                                                             PerDiemCo LLC v. NexTraq
                                              PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 10,021,198

    Claim      US Patent         Description of the Infringement
               10,021,198




                                 (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     1-b    providing one or     See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            more first           information.
            administrative
            privileges used      See 1-a for server, first ISE and authorized users.
            by a first
            administrator to     NexTraq (or one or more administrators employed by NexTraq) is provided with first administrative privileges for
            maintain said        maintaining the first information sharing environment. NexTraq (or one or more administrators employed by NexTraq)
            first information    uses the first administrative privileges to define a plurality of customer environments (which is formed by its customers’
            sharing              network of computing devices) who purchase the Internet service.
            environment,
            said one or more                                                           Second ISEs
            first
            administrative
            privileges being
            used to:
            a) define a
            plurality of
            second
            information
                                                                               19
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                                                                                                                                          Exhibit C-1
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                                Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 21 of 61


                                                               PerDiemCo LLC v. NexTraq
                                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                                U.S. Patent No. 10,021,198

    Claim       US Patent        Description of the Infringement
               10,021,198
            sharing
            environments
            corresponding to
            a plurality of
            purchasers of
            said Internet
            service,
            b) provide each
            authorized user
            of said plurality
            of authorized
            users a
            respective user
            account name
            and password to
            use as part of a     (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
            login process,       -----------------------------------------------------------------------------------------------------------------------------------------------
            and                  As such, the customer environments corresponding to purchasers of the Internet tracking services, are defined by
                                 NexTraq as a plurality of second ISEs. NexTraq (or one or more administrators employed by NexTraq) uses the first
            c) assign each       administrative privileges to provide each authorized a respective user account name and password to use as part of a
            authorized user      login process.
            of said plurality
            of authorized                                                                  Authorized user accounts
            users to only one
            of said second
            information
            sharing
            environments of
            said plurality of
                                                                                      20
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                                                                                                                                                           Exhibit C-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,021,198

    Claim       US Patent     Description of the Infringement
               10,021,198
            second
            information
            sharing
            environments,
            said plurality of
            second
            information
            environments
            coexisting
            independent of
            each other within
            said first
            information
            sharing
            environment;




                              (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                          Exhibit C-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          ---------------------------------------------------------------------------------------------------------------------------------------------
                          NexTraq (or one or more administrators employed by NexTraq) uses first level of administrative privilege to provide
                          access authorization to user accounts in response to received log in requests that contain IDs and passwords of the
                          authorized users in their respective customer environments. In this way, each authorized user is assigned to its own
                          customer environment, which coexist independent of other customer environments created within NexTraq’s information
                          sharing environment.

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                                                                                                                                                   Exhibit C-1
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                                Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 24 of 61


                                                               PerDiemCo LLC v. NexTraq
                                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                                U.S. Patent No. 10,021,198

    Claim       US Patent        Description of the Infringement
                10,021,198
     1-c    providing second     See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            administrative       information.
            privileges used
            to maintain said     See 1-a for server, first ISE and authorized users.
            plurality of
            second               See 1-b for second ISEs and authorized user accounts.
            information
            sharing              NexTraq’s Accused Instrumentalities are used by a plurality of authorized users, such as managers of companies or
            environments to      organizations in various customer environments, which are second ISEs.
            a plurality of       NexTraq (or one or more administrators employed by NexTraq) uses the first administrative privilege to authorize a user
            second               in each customer environment to be a second administrator, identified in the DB by NexTraq, which is the first
            administrators,      administrator. In other words, it is NexTraq (or one or more administrators employed by NexTraq) that specifies its
            said second          customer environments.
            administrative
            privileges being                                                              Second Administrator
            used to:
            a) define one or
            more groups
            within a
            respective
            second
                                 (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
            information
            sharing
            environment,
            and
            b) assign each       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
            authorized user      ---------------------------------------------------------------------------------------------------------------------------------------------
            of the respective    NexTraq (or one or more administrators employed by NexTraq) provides second administrative privileges to the second
            second               administrators for maintaining their customer environments.
                                                                                     23
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                                                                                                                                                          Exhibit C-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,021,198

    Claim       US Patent     Description of the Infringement
               10,021,198
            information
            sharing                                                        Second administrative privileges
            environment to
            one or more of
            said groups;



                              (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                              (Source: https://www.nextraq.com/terms-and-conditions/ )

                              Account administrator is given the second administrative privileges at the customer level (i.e., group level) with access
                              to all tabs. Any administrator at the group level has second administrative privileges to define one or more groups within
                              the customer’s environment, and assign each authorized user to one or more groups within the customer’s environment.




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                                                                                                                                       Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit C-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          ---------------------------------------------------------------------------------------------------------------------------------------------
                          The second administrator uses the second administrative privileges to define groups/sub-groups within a respective
                          customer environment.

                                                Groups/sub-groups within a respective customer information sharing environment




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                                                                                                                                                   Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit C-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          ---------------------------------------------------------------------------------------------------------------------------------------------
                          The second administrator uses the second administrative privileges to assign each authorized user of the respective
                          second information sharing environment to one or more of groups/sub-groups.




                          (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                                   Exhibit C-1
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                                Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 32 of 61


                                                             PerDiemCo LLC v. NexTraq
                                              PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 10,021,198

    Claim      US Patent         Description of the Infringement
               10,021,198
                                 (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                 (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     1-d    providing a          See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            plurality of         information.
            second database
            management           See 1-a for server, first ISE and authorized users.
            system software
            that executes on     See 1-b for second ISEs and authorized user accounts.
            a plurality of
            computing            See 1-c for second administrator, second administrator privileges, and groups.
            devices of said
            plurality of                                             Second Database Management System Software
            authorized users,
            said plurality of
            second database
            management

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                                                                                                                               Exhibit C-1
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                            Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 33 of 61


                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,021,198

    Claim       US Patent       Description of the Infringement
                10,021,198
            system software
            interfacing with
            said first
            database
            management
            system software,
            each second
            database            (Source: Page No. 1 of https://www.nextraq.com/services/integration/ )
            management
            system software
            of said plurality
            of second
            database
            management
            system software     (Source: Page No. 2 of https://www.nextraq.com/resources/faqs/ )
            enabling a first
            authorized user
            of said plurality
            of authorized
            users to:
            a) define an
            event condition
            based on an
            object location
            information
            corresponding to
            a location of an
            object and a zone
            information         (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                                                               32
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                                                                                                           Exhibit C-1
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                                  Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 34 of 61


                                                                 PerDiemCo LLC v. NexTraq
                                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                                  U.S. Patent No. 10,021,198

    Claim        US Patent         Description of the Infringement
                10,021,198
            corresponding to       ---------------------------------------------------------------------------------------------------------------------------------------------
            a zone, and            In each customer environment, a second database management system software executes in computing devices of the
            b) define an           authorized users of the respective customer group. The second database management system software interfaces with
            event                  the first database management system software, i.e., NexTraq’s Fleet Tracking platform.
            information
            access code that                                                 Second DBSMA interfacing with first DBSMA.
            is a first access
            list that specifies
            one or more
            authorized users
            of said plurality
            of users to be
            provided an
            event
            information
            comprising an
            alert when said
            event condition
            has been met,
            said object
            location being a
            coordinate             (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
            within a               ----------------------------------------------------------------------------------------------------------------------------------------------
            coordinate             NexTraq uses the above identified Accused Instrumentalities for tracking locations of a plurality of mobile
            system provided        objects/assets/vehicles.
            by a location
            information                                                    Mobile Objects/Assets/Vehicles identified by OIDs
            source,

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                                                                                                                                                             Exhibit C-1
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                               Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 35 of 61


                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,021,198

    Claim       US Patent       Description of the Infringement
               10,021,198
            said zone having
            a boundary
            defined by a
            plurality of
            coordinates
            within said
            coordinate
            system;




                                (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

                                The mobile objects/assets/vehicles are associated with mobile tracking devices/mobile devices identified by Hardware
                                Ids that provide mobile object/asset/vehicle locations using wireless GPS location information sources.




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                                                                                                                                     Exhibit C-1
                                                                                                                                   Page 34 of 60
                         Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 36 of 61


                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                                                                      Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                                                       Mobile Devices Equipped with Location Information Sources
                          1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                          2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                          3-Trailer Trackers (e.g., TT-2830)
                          4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                          (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                                                                                                      Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




                          (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                          (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)

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                                                                                                          Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                          (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                                                                       Exhibit C-1
                                                                                                     Page 39 of 60
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                          (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                                                                       Exhibit C-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                          0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                          225724&mkgroupid=1228154759183859&rlsatarget=pla-
                          4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                          -----------------------------------------------------------------------------------------------------------------------------------------------
                          Each second database management system software enables a first authorized user to:

                              (a) define an event condition, such as arrival and departure based on an object/asset/vehicle location information
                                  corresponding to a location of an object/asset/vehicle and a zone information corresponding to a
                                  zone/Landmark/Geofence.

                                                         Event Condition Based on Zone and Object/asset/vehicle Location




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          -----------------------------------------------------------------------------------------------------------------------------------------------
                               (b) define an event information access code that is a first access list that specifies one or more authorized users to be
                                   provided an event information, i.e., alerts.

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                                                                                                                                                    Exhibit C-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                                                                    Information Access code Comprising Access List




                          (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          --------------------------------------------------------------------------------------------------------------------------------------------
                          The event information i.e., alert is conveyed when the event condition, such as arrival and departure has been met.

                                                                                              Alert




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                                                                                                                                                     Exhibit C-1
                                                                                                                                                   Page 43 of 60
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                      Exhibit C-1
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                         Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 46 of 61


                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                               Exhibit C-1
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                              PerDiemCo LLC v. NexTraq
               PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                               U.S. Patent No. 10,021,198




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198
                          (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                          (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                          -----------------------------------------------------------------------------------------------------------------------------------------------
                          Each object/asset/vehicle location is a coordinate within a coordinate system provided by a GPS location information
                          source. Each zone/landmark/geo-fence has a boundary defined by a plurality of coordinates within the coordinate system.




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                                                                                                                                                    Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                     Exhibit C-1
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                            Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 50 of 61


                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,021,198

    Claim     US Patent      Description of the Infringement
              10,021,198




                             (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                             (Source: Page No. 29 of http://www.alltrackusa.com/RTH_user_guide.pdf )
     1-e    monitoring by    See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            said first       information.

                                                                          49
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                                                                                                                           Exhibit C-1
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                              Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 51 of 61


                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,021,198

    Claim       US Patent      Description of the Infringement
               10,021,198
            database
            management         See 1-a for server, first ISE and authorized users.
            system software
            said object        See 1-b for second ISEs and authorized user accounts.
            location
            information;       See 1-c for second administrator, second administrator privileges, and groups.

                               See 1-d for second database management system software, object, object location, event condition, zone, alert and
                               information access code.

                               NexTraq’s database management system software monitors the object/vehicle/asset location information received from
                               location information sources, e.g., GPS receivers, of mobile objects/assets/vehicles.




                               (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)

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                                                                                                                                 Exhibit C-1
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                              Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 52 of 61


                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,021,198

    Claim     US Patent        Description of the Infringement
              10,021,198




                               (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     1-f    determining by     See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            said first         information.
            database
            management         See 1-a for server, first ISE and authorized users.
            system software
            said event         See 1-b for second ISEs and authorized user accounts.
            condition has
            been met; and      See 1-c for second administrator, second administrator privileges, and groups.

                               See 1-d for second database management system software, object, object location, event condition, zone, alert and
                               information access code.

                               See 1-e for monitoring by the first database management system software the object location information.




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                                                                                                                                    Exhibit C-1
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                                 Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 53 of 61


                                                              PerDiemCo LLC v. NexTraq
                                               PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                               U.S. Patent No. 10,021,198

    Claim      US Patent          Description of the Infringement
               10,021,198
                                  To the extent that mobile tracking devices do not have built-in geofences for device side geo-fencing, NexTraq’s first
                                  database management system software determines whether the event condition, such as arrival and departure has been
                                  met.




                                  (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     1-g    conveying by          See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            said first            information.
            database
            management            See 1-a for server, first ISE and authorized users.
            system software
            said alert to said    See 1-b for second ISEs and authorized user accounts.
            second database
            management            See 1-c for second administrator, second administrator privileges, and groups.
            software of only
                                                                                52
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                                                                                                                                       Exhibit C-1
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                               Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 54 of 61


                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,021,198

    Claim       US Patent       Description of the Infringement
               10,021,198
            those authorized    See 1-d for second database management system software, object, object location, event condition, zone, alert and
            users included      information access code.
            on said first
            access list.        See 1-e for monitoring by the first database management system software the object location information.

                                See 1-f for determining by the first database management system software that event condition has been met.

                                NexTraq’s database management system software conveys the alert to the second database management of only to those
                                authorized users included on the first access list.




                                (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                     Exhibit C-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                               Exhibit C-1
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                                Case 1:23-mi-99999-UNA Document 124-6 Filed 01/13/23 Page 56 of 61


                                                             PerDiemCo LLC v. NexTraq
                                              PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 10,021,198

    Claim      US Patent         Description of the Infringement
               10,021,198




                                 (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     4.     The method of        See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            claim 1, wherein     information.
            said first
            authorized user      See 1-a for server, first ISE and authorized users.
            can define zone
            information that     See 1-b for second ISEs and authorized user accounts.
            specifies a user-
            defined zone.        See 1-c for second administrator, second administrator privileges, and groups.


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                                                                                                                               Exhibit C-1
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                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,021,198

    Claim     US Patent         Description of the Infringement
              10,021,198
                                See 1-d for second database management system software, object, object location, event condition, zone, alert and
                                information access code.

                                See 1-e for monitoring by the first database management system software the object location information.

                                See 1-f for determining by the first database management system software that event condition has been met.

                                See 1-g for conveying by said first database management system software the alert to second database management
                                software of only those authorized users included on said first access list.

                                The zones are defined by first authorized user, who is a group administrator.
     7.     The method of       See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            claim 1, wherein    information.
            said first
            authorized user     See 1-a for server, first ISE and authorized users.
            can associate an
            information         See 1-b for second ISEs and authorized user accounts.
            location source
            with an object.     See 1-c for second administrator, second administrator privileges, and groups.

                                See 1-d for second database management system software, object, object location, event condition, zone, alert and
                                information access code.

                                See 1-e for monitoring by the first database management system software the object location information.

                                See 1-f for determining by the first database management system software that event condition has been met.

                                See 1-g for conveying by said first database management system software the alert to second database management
                                software of only those authorized users included on said first access list.
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198

                          The first authorized user can associate an information location source, e.g., GPS receiver, included in mobile devices
                          with an object/asset/vehicle.




                          (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,021,198

    Claim      US Patent        Description of the Infringement
               10,021,198




                                (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)
     12.    The method of       See 1-p for Internet service, database management system software (DBMSA), database and location and tracking
            claim 1, wherein    information.
            the alert
            comprises a         See 1-a for server, first ISE and authorized users.
            video transmitted
            to a computing      See 1-b for second ISEs and authorized user accounts.
            device based on
            the event           See 1-c for second administrator, second administrator privileges, and groups.
            information
            access code after   See 1-d for second database management system software, object, object location, event condition, zone, alert and
            the event           information access code.
            condition is met.
                                See 1-e for monitoring by the first database management system software the object location information.

                                See 1-f for determining by the first database management system software that event condition has been met.

                                See 1-g for conveying by said first database management system software the alert to second database management
                                software of only those authorized users included on said first access list.
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,021,198

    Claim   US Patent     Description of the Infringement
            10,021,198

                          Accused applications executed by NexTraq is integrated with NexTraq Dashcam.




                          (Source: Page No. 1 of https://www.nextraq.com/services/dashcam/ )




                          (Source: Page No. 2 of https://www.nextraq.com/services/dashcam/ )
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,021,198


Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
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